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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


HENRY AGUILA                                               2:22−cv−03401
                                        PLAINTIFF(S)

       v.
PENN STAR INSURANCE COMPANY , et al.

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                                     DEFENDANT(S).
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